   Case: 4:10-cv-00816-AGF Doc. #: 4 Filed: 05/07/10 Page: 1 of 1 PageID #: 14


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


JOHN LLAMAS,                                     )
                                                 )
            Plaintiff,                           )
                                                 )
      vs.                                        )          Case No. 4:10CV00816AGF
                                                 )
PORTFOLIO RECOVERY                               )
ASSOCIATES, LLC,                                 )
                                                 )
            Defendant.                           )


                                            ORDER

       Pursuant to a Notice of Settlement filed by Plaintiff John Llamas [Doc. #3] that this case

has been settled,

       IT IS HEREBY ORDERED that the parties shall file, on or before June 7, 2010,

dismissal papers dismissing the case.

       Dated this 7th day of May, 2010.




                                             AUDREY G. FLEISSIG
                                             UNITED STATES MAGISTRATE JUDGE
